 1                                                                   The Honorable Frederick P. Corbit
                                                                     Chapter 11
 2                                                                   Response Date: May 8, 2020

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 6                       IN THE UNITED STATES BANKRUPTCY COURT
                IN AND FOR THE EASTERN DISTRICT OF WASHINGTON AT SPOKANE
 7
       In Re:                                           NO. 18-03197-FPC
 8
       GIGA WATT, INC.,                               APPLICATION OF WTT TOKEN HOLDERS
 9                                                    AND MINER OWNERS FOR
                                                      ADMINISTRATIVE EXPENSE AND FOR
10                                         Debtor.    DECLARATORY RELIEF
11                                                   NOTICE
12              PLEASE TAKE NOTICE that certain creditors claiming an interest in cryptocurrency
13     miners and/or WTT tokens, and members of the non-profit Creditors’ Committee of WTT
14     Token Holders and Miners1 (“Owners”) have moved for an order granting a claim to
15     administrative expense and declaratory relief as to ownership (the “Motion”).
16              IF YOU OPPOSE the Motion you must file your written response with the court clerk,
17     and request a hearing at P.O. Box 2164, W. 904 Riverside, Room 321, Spokane, WA 99210 on
18     or before the response date, which is May 8, 2020. YOU MUST ALSO serve a copy of any
19     objection on the undersigned at 1201 Pacific Ave, Suite 1200, Tacoma, WA 98402; the Chapter
20     11 Trustee; and on the Office of the United States Trustee.
21              IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its
22     discretion, GRANT THE MOTION WITHOUT A HEARING AND WITHOUT
23     FURTHER NOTICE.
24

25     1
         Although some Owners are also members of the Official Committee of Unsecured Creditors
       (“OCUC”) formed under the direction of the United States Trustee, this application is not
26     made on behalf of the OCUC but only on behalf of the members of the non-profit who claim
       to hold WTT tokens or own mining machines held at Debtor’s facilities.
      NOTICE AND APPLICATION FOR ADMINISTRATIVE
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 1                                                 MOTION
 2             COMES NOW certain creditors claiming an interest in cryptocurrency miners and/or
 3     WTT tokens, and members of the non-profit Creditors’ Committee of WTT Token Holders and
 4     Miners (“Owners”), by and through their attorneys of record, Samuel J. Dart and Eisenhower
 5     Carlson PLLC and request an award of an administrative expense for use of certain mining
 6     equipment and facility space by the Debtor and declaratory relief recognizing the ownership of
 7     certain miners held in the Debtor’s facilities.
 8                                             BACKGROUND
 9             Debtor filed for Chapter 11 bankruptcy relief on November 19, 2018. Prior to filing
10     bankruptcy, Debtor advertised itself as a hosting service for those seeking to mine Bitcoin,
11     Ethereum, and other digital currencies. The Debtor’s business model combined hosting services
12     for those seeking to mine digital currency with their own computers and the novel fundraising
13     method of an Initial Coin Offering (“ICO”) wherein the Debtor offered access to its facilities to
14     take advantage of the ultra low power rates of the local utility in order for third parties to
15     profitably mine for Bitcoin and other digital currencies.
16             A. Debtor’s Business Model for Hosting Crypto Miners.
17             The Debtor’s business model and its strategy to generate revenue revolved around
18     access to power at a price point low enough to generate a profit for those using Debtor’s physical
19     facilities. Those purchasing Debtor’s ICO prepaid for access to Debtor’s facilities for a fixed
20     period and thereby also gained access to extremely cheap electric power. Debtor’s plan was to
21     build numerous mining pods to take advantage of the cheap electricity offered in Eastern
22     Washington while marketing a turnkey cryptocurrency mining experience to anyone that
23     wanted it. Debtor’s main business was advertised to the general world as that of a hosting
24     company where third party mining equipment could be placed in Debtor’s facilities and used to
25     mine different kinds of digital currency for a fee. Debtor advertised its mining solutions to
26     include purchases of mining equipment through its partner company, GigaWatt Pte., Ltd. Giga


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 1     Watt would waive installation fees for equipment purchased from its partner company but the
 2     cost of any equipment was paid to the supplier of the equipment and not to Debtor.
 3             As part of the hosting business, Debtor offered ICO tokens (“WTT tokens”) representing
 4     a right to space in Debtor’s facilities in order to make use of its power rent free for 50 years.
 5     These WTT Tokens recognized the main business advantage of Debtor—a location with cheap
 6     electrical power from the central Washington utilities. Purchase of the WTT Tokens was made
 7     through a third-party called Cryptonomos and the WTT Tokens were held in the individual’s
 8     personal Cryptonomos account until utilized.
 9             The WTT Tokens represented a pre-purchase of space in the Debtor’s facilities. The
10     funds for the purchase of WTT Tokens were held in an escrow account by the law firm of
11     Perkins Coie until such time as the facilities buildout would support their use. When active
12     mining began those with WTT Tokens were still charged with the cost of maintenance and
13     electricity. In addition to maintenance and electricity fees, those without WTT Tokens were
14     required to pay hosting fees at a tiered rate depending on the number of miners owned.
15     Purchasers of the WTT Tokens could later rent their space for use by others if and when the
16     Debtor gained excess capacity to offer for rent. Essentially, by prepaying for facility use, the
17     WTT Token holder received rack space in the Debtor’s facilities during the 50 year term while
18     Debtor received users of its facilities that would pay for maintenance of the machines.
19             After purchasing a WTT token, each entity hosting with Debtor was provided a web
20     portal with access to the WTT tokens purchased and a digital wallet that showed the balance of
21     crypto currency from mining operations. Debtor also offered to facilitate the purchase and
22     installation of machines, or WTT token holders could simply buy their own miners and have
23     them shipped to Debtor’s facilities from third party companies. (Declaration of Scott Glasscock,
24     incorporated by reference).
25             Debtor’s main business model was always as a hosting service. This meant Debtor
26     specifically advertised that it was not the owner of miners at its facility but, as a service to those


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 1     using the hosting, Debtor could facilitate obtaining and placing miners in the facilities for those
 2     who were purchasing hosting services. Debtor never purported to obtain an ownership interest
 3     in the equipment and instead represented at all times that those using its hosting services were
 4     the owners of equipment placed in the facility. For example, Debtor posted the following Q &
 5     A response on the posting platform Medium on November 30, 2017, “We can either hold your
 6     hardware until we get the PSU’s then ship it out, or ship your hardware to you without the PSU
 7     and ship that to you separately when we get it. Contact: shipminer@giga-watt.com.”2 Debtor
 8     was not offering a lease of machines it already owned but the opportunity to use machines at its
 9     facilities. There was no requirement to purchase mining machines through Debtor in order to
10     host and the Debtor did not purport to own the machines by virtue of having them shipped to
11     its facilities. Although Owners could purchase machines through GigaWatt Pte., Ltd., he only
12     advantage to doing so was that Debtor would waive the installation fee charged for equipment
13     from other sources.
14             B. Digital Currency Downturn and Issues with Utilities.
15             Debtor’s vision was apparently to use the cryptocurrency mining boom to form a
16     services platform to facilitate profitable mining operations for anyone in the world. Instead of
17     mining for coins directly, Debtor offered a service to others, much like the services offered to
18     support any industry.3 This strategy required two things. First, the price of any specific digital
19     currency would need to remain at a certain level to attract mining. Second, the price of a
20     cryptocurrency miner’s primary “raw material” in the form of electrical energy needed to
21     remain at a level where it was profitable to operate the power-hungry mining machines used to
22     generate digital currency rewards. Both necessary states failed to materialize and the issues with
23     Debtor’s business soon became apparent.
24

25     2
         Giga Watt, Recently Asked Questions and Points for Clarification,
       https://medium.com/gigawatt/recently-asked-questions-and-points-of-clarification-
26     6ad1838433ff (last accessed March 26, 2020).
       3
         Giga Watt apparently intended to use the hosting and ////
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 1             In 2018, most digital currencies peaked and then subsequently fell. In some cases, the
 2     loss in value was upwards of 80% from the peak.4 As the currency value dropped, so did some
 3     of the momentum for mining. In addition, the power costs associated with the energy for mining
 4     were eventually increased as operations strained the local utilities. These pressures eventually
 5     revealed that Debtor’s operations were not as robust as advertised and that promises for facilities
 6     and power either could not or would not occur. Those with mining machines already at the
 7     facility were stuck with no way to obtain possession of the miners or to continue mining while
 8     the Debtor’s business fell apart.
 9             C. Debtor’s Bankruptcy and Subsequent Administration by the Trustee.
10             Following Debtor’s bankruptcy in November 2018, Mark Waldron was appointed as the
11     Chapter 11 Trustee charged with administering the case. The Trustee was faced with a business
12     that was in disarray. At some point, the Trustee made the decision to keep the mining operation
13     going, just as Debtor had done before, using the hosting facilities and the machines found in the
14     pods and on site.
15             After the bankruptcy petition, the Owners timely filed claims, many of the indicating an
16     ownership interest in the mining equipment. An example of the documentation of ownership
17     is the miner dashboard, lot numbers, mining equipment identification number, and tracking
18     information included in the supplements to claim Nos. 60, 64, and 104. The Owner claims make
19     up the majority of all claims filed in this case both in number and amount.5 Most of these claims
20     are relatively small as Debtor attracted individuals from all over the world interested in starting
21     their own digital mining businesses using Giga Watt’s hosting services.
22             During the Trustee’s efforts to secure the Debtor’s facilities and bring certain aspects of
23     the business back online, counsel for the OCUC specifically raised the issue of ownership and
24     priority of claims related to use of the facilities and the miners. See OCUC’s Response to
25
       4
         https://en.wikipedia.org/wiki/2018_cryptocurrency_crash
26     5
        A representative example of the Owner claims presented by this Motion include claim nos.
       60, 64, 104, and 329.
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 1     Trustee’s Motion re Two-Way Agreement, ECF No. 289. Trustee and OCUC counsel
 2     subsequently agreed that all parties would be better off if the ownership issue was left for
 3     another day and that Trustee be allowed to continue to operate Debtor’s facilities using the
 4     mining equipment to generate revenue without a determination of priority or ownership rights
 5     at that time. The Owners recognized that the Trustee’s continued use of the equipment was
 6     beneficial to the overall value of Debtor’s business—hosting mining equipment—and therefore
 7     did not request relief from stay at that time. Unfortunately, the Owners were not represented by
 8     legal counsel at this time because they were in the process of raising funds to hire an attorney.
 9     Now, as it appears that the Trustee is preparing to either sell the mining operations or liquidate
10     the business, the Owners recognize the need to protect their property interests and to avoid the
11     loss of their machines and WTT tokens.
12

13                                              ARGUMENT
14             Following the bankruptcy petition, the Debtor continues to operate using mining
15     equipment it never purported to own, gained through funds expended by others.6 As a hosting
16     facility, Debtor’s business only generates income when third party individuals or companies
17     use the facilities to mine for digital currency. Trustee continues to generate funds for the
18     bankruptcy estate using equipment that Debtor does not own and rack space Debtor already
19     leased out but without paying for the value of that use and without recognizing that the
20     equipment is the property of the Owners not the bankruptcy estate. Absent use of the Owner’s
21     mining equipment and space already rented to the WTT token holders, Debtor would have no
22     revenue. The continued use (and diminution in value) of Owner’s equipment and the exclusion
23     of the Owners from rented facility space is an administrative expense the Court should
24     recognize and award to the Owners for the benefit received by the estate.
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26     6
         Debtor did not offer lease to own, lease option, or secured financing for the miners at its
       facilities.
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           A. The Mining Machines are Property of the Owners and Are Not Property of the
 1
              Giga Watt Bankruptcy Estate.
 2             Since filing its voluntary bankruptcy petition, Debtor continues to generate funds for
 3     operations and payment of expenses related to this bankruptcy through the mining of Bitcoin
 4     and other digital coins in addition to the sale of other property. Prepetition, Debtor represented
 5     to the world that it did not own the mining machines placed in its facilities and instead offered
 6     the service of hosting machines owned by others. (Dec. of Glasscock).
 7             State law determines the existence and scope of a debtor's interest in property. In re
 8     Reed, 940 F.2d 1317, 1322 (9th Cir. 1991) (citing Butner v. United States, 440 U.S. 48, 54, 99
 9     S. Ct. 914, 59 L. Ed. 2d 136 (1979)). A debtor's interest in property is determined upon the
10     filing of the bankruptcy petition and becomes part of the bankruptcy estate at that time. Id.
11     Where a trustee asserts an ownership interest in property and a right to turnover, the trustee
12     bears the burden of proving he is entitled to turnover of property. Wolfe v. Jacobson (In re
13     Jacobson), 676 F.3d 1193, 1200-01 (9th Cir. 2012) (citations omitted)).
14             In this case, Debtor never claimed an ownership interest in the mining equipment used
15     at its facilities, even when the mining equipment was purchased using Debtor’s assistance. As
16     an example, in its Token Launch White Paper, Debtor repeatedly expresses that it does not own
17     the miners used at its facilities. (See Dec. of Glasscock, Exhibit A). Debtor’s Token Launch
18     White Piper states that
19
               WTT token holders who wish to use their tokens to host their equipment at the
20             facilities would be required to comply with the U.S. laws and regulations and may
               need to verify their identities and provide proof of address (for individuals), or
21             verify their registration, good standing, list of ultimate beneficial owners, and
               address (for legal entities) prior to using their WTT tokens and setting up their
22
               equipment at Giga Watt's facilities, or at any time thereafter upon Giga Watt's
23             request.

24             (Glasscock Dec., Exh. A at 28) (emphasis added). Debtor even used this ownership

25     model as part of its hosting strategy stating, “After the completion of the Token Launch, hosting

26     of miners will only be available to retail clients through tokens. Consequently, the clients who


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 1     do not own tokens will have to rent them from their owners.” (Glasscock Dec., Exh. A at 14)
 2     (emphasis added). Since there was never more power supplied to Debtor’s facilities than could
 3     be utilized by the WTT tokens it had sold, all access to Debtor’s facilities was effectively
 4     through those with WTT tokens. It is believed that Debtor maintained a list of miners purchased
 5     by Owners, the WTT tokens that were available for use in conjunction with such Owners, and
 6     that such list identified Owners by account name, which was the individual Owner’s email
 7     address. At any rate, Owners could see the existence of their miners and the WTT tokens they
 8     had available in the owner dashboard provided by Debtor. (Dec. of Glasscock).
 9              If there were any doubt over ownership of the mining equipment, Debtor’s web portal
10     specifically indicated that equipment was the property of the Owners. For instance, the web the
11     dashboard provided to the Owners describes the Owner’s machines and the value attributable
12     to those machines. See, e.g., Claim 104-1 at 11. Furthermore, Debtor’s representatives
13     communicated with Owners recognizing both that the miners were not property of Giga Watt
14     and that Owners were free to control the equipment, including having miners shipped back to
15     them. (Glasscock Dec., Exh. B). Finally, Debtor’s Owner Dashboard shows each machine
16     installed in its facilities with an assigned mining equipment identification number. See, e.g.,
17     Claim No. 60-1, Part 2, p. 10. This was Debtor’s business model and in no way establishes that
18     Debtor owned any of the machines in its facilities.
19              Numerous Owners filed claims in this case with evidence of ownership. Though Debtor
20     did not include a public catalogue of miners and owners, it is believed that Debtor did manage
21     to maintain a list of equipment linked to each Owner. Since mining was done with pools of
22     machines, similar to an agricultural co-op, a third party divided and assigned rewards based on
23     each machine’s percentage of computing power on a pro-rata basis as identified by the mining
24     pool.7 (Glasscock Dec.). In order for these third parties to collect and pay to each Owner any
25     share of a reward, the machines necessarily were identified and linked to each Owner’s digital
26
       7
           The mining pools work like any other cooperative where resources are pooled to lower costs.
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 1     wallet identified in the Debtor’s owner dashboard. Debtor was aware that it did not own the
 2     machines in its facilities, and it was also aware that each machine must be linked to an account.
 3     Continued refusal to recognize the Owner’s right to the mining machines therefore amounts to
 4     conversion. See Consulting Overseas Mgmt. v. Shtikel, 105 Wn.App. 80, 83 (2001) (conversion
 5     has two essential elements, ownership in the plaintiff and wrongful possession or refusal to
 6     return possession by the defendant).
 7               Not only were miners purchased by Owners from third parties, but each and every miner
 8     in Debtor’s facilities came from somewhere else, since Debtor was not in the business of
 9     manufacturing miners. Debtor did not purchase a stock of miners for the use of others and, in
10     fact, Owners did purchase miners elsewhere and have them shipped to Debtor’s facility. Given
11     Debtor’s public statements, the basic mechanics of Debtor’s business, and the way digital
12     currency mining works, the Trustee was on notice that he was generating funds for the
13     bankruptcy estate using mining equipment belonging to the Owners in space Debtor already
14     rented.
15               Apparently, detailed records that cross-link miner equipment numbers with each
16     individual Owner are not available.8 Fortunately, the miners are machines made up of identical
17     components, so the important aspect is the make and model of the machine and how many
18     machines each Owner can document as having been purchased. Trustee apparently recognized
19     this as he allowed at least one other company to retrieve its mining equipment from Debtor’s
20     facilities. See Allrise Financial Grp. App. for Admin. Expense, ECF No. 459, 3:8-11. The
21     Trustee cannot abandon property of the estate without a motion noticed to all creditors so he
22     must believe that Allrise was the owner of the mining equipment. § 554(a). The same is true of
23     the Owners filing this Motion.
24         B. The Owners are not Investors or Equity Holders of Debtor.
25

26     8
         It is unclear to the Owners what records Debtor maintained as those records (if any) are
       either in the possession of the Trustee, Debtor’s former principals, or were destroyed.
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 1            In order to avoid the difficulty posed by returning property to numerous Owners, Trustee
 2   has apparently taken the position that the Owners are no more than investors in the Debtor by
 3   way of an illegal ICO. This is incorrect. First, whether Debtor’s ICO violated state and federal
 4   securities law does not make any difference to ownership.
 5            Assuming that Debtor’s marketing of the ICO was improper, that has nothing to do with
 6   ownership of the mining machines or the validity of the Debtor’s obligations with respect to the
 7   WTT tokens. This is especially true for those machines purchased by the Owners and shipped
 8   to Debtor’s facilities. Even the securities laws recognize that ownership may exist regardless of
 9   whether the offering violated any Blue Sky law. As an example, a violation of the Washington
10   State Securities Act, either unlawfully failing to register a security or by use of a material
11   misstatement or omission, entitles the purchaser to the option of rescission of the investment.
12   RCW 21.2.430(1). It does not deprive the wronged investor of ownership in anything since it is
13   a remedial statute designed to protect investors.
14            The Owners are also not investors in the Debtor but merely obtained their own machines
15   to use at Debtor’s facilities and held a right to space and Debtor’s access to cheap power by
16   virtue of the WTT tokens. In SEC v. W.J. Howey Co., 328 U.S. 293, 298-99, 90 L. Ed. 1244, 66
17   S. Ct. 1100 (1946), the court explained that an investment contract "means a contract,
18   transaction or scheme whereby a person invests his money in a common enterprise and is led to
19   expect profits solely from the efforts of the promoter or a third party. . . ." The “Howey Test” is
20   the law for determining if something is an investment. The court’s emphasis should be on the
21   "economic realities underlying a transaction, and not on the name appended thereto." United
22   Hous. Found., Inc. v. Forman, 421 U.S. 837, 849, 95 S. Ct. 2051, 2059, 44 L.Ed.2d 621, 630
23   (1975); see also Cellular Eng'g v. O'Neill, 118 Wn.2d 16, 25-26, 820 P.2d 941 (1991). Though
24   courts have found that some ICOs may constitute an investment contract the purchase and use
25   of miners at Debtor’s facilities does not meet this test. To the Owner’s knowledge, no court has
26   determined that Giga Watt’s ICO constituted an unlawful ICO or that the WTT tokens were an


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 1   investment contract.
 2            Since Howey, courts have further refined the difference between a regulated investment
 3   contract and something that is not considered such an investment. In the Ninth Circuit, a
 4   common enterprise requires “commonality” mandating that the fortunes of investors be tied to
 5   the fortunes of the promoter. See Brodt v. Bache & Co., Inc., 595 F.2d 459, 461 (9th Cir. 1978).
 6   The Howey test does not turn every investment of money into a regulated security. Ownership
 7   with intent to rent something out, or ownership to gain passive income is not an investment
 8   contract without a collateral agreement to generate profit form the efforts of others. See Revak
 9   v. SEC Realty Corp., 18 F.3d 81, 89 (2d Cir. 1994). Ultimately, the court must assess the
10   economic realities of each transaction in a highly fact specific inquiry. United States v. Leonard,
11   529 F.3d 83, 90 (2d Cir. 2008).9
12            In this case, the Owners were using their own machines to mine digital currency (even
13   when purchased through Debtor’s portal) and receive a share attributable to their direct efforts
14   from a third-party. The success of the promoter would not change the success of the individual
15   Owners—unless the facilities were shutdown altogether. On the other hand, the promoter could
16   succeed while the individual owner failed due to inattentiveness to his or her mining equipment.
17   The Debtor merely offered the facilities and access to power. Owners were not provided shares
18   in the Debtor, only WTT tokens enabling them to reserve space and take advantage of a very
19   low power rate. The WTT tokens were not marketed as fungible or subject to exchange with
20   other hosting companies. Owners did not hold WTT tokens to wait for them to increase in value,
21   they wanted WTT tokens to pre-pay to reduce the costs of working miners for 50 years. In fact,
22   the longer an Owner held a WTT token without mining using their own machines, the less value
23

24   9
       The SEC’s No Action letter issued to TurnKey Jet, Inc. indicates that the agency
     acknowledges that not every digital coin will fit the definition of security. For example, the
25   SEC determined that a token issued by TurnKey Jet, Inc. for services was not a regulated
     offering. In particular, the SEC noted that its opinion was based on the whether the token “is
26   marketed in a manner that emphasizes the functionality of the Token, and not the potential for
     the increase in the market value of the Token.”
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 1   it would likely have. The third prong of the Howey test requires that investors must be "attracted
 2   to the investment by the prospect of a profit on the investment rather than a desire to use or
 3   consume the item purchased." Steinhardt Grp. v. Citicorp, 126 F.3d 144, 152 (3d Cir. 1997).
 4   Simply put, the value for Owners was to bring their own machines to Debtor’s facilities and use
 5   the machines to mine for digital currency or, rent the space out to someone else to mine. There
 6   was no value to simply holding a WTT token and not using it.
 7            Under the facts and circumstances here, the WTT tokens are merely a representation of
 8   Debtor’s offer to lease a certain amount of space in its facilities for a fixed term. The WTT
 9   tokens are therefore similar to the tokens for air transportation services offered by TurnKey Jet,
10   Inc. The SEC issued a No Action letter to TurnKey Jet, Inc. on April 3, 2019, in which the
11   agency noted that one of the factors in its decision was whether the token “is marketed in a
12   manner that emphasizes the functionality of the Token, and not the potential for the increase in
13   the market value of the Token.”10
14            Regardless of whether the WTT tokens are considered a regulated security, the machines
15   purchased from third party vendors still belong to those who paid money for them—the Owners.
16   Similarly, the Debtor still committed to provide space in it is facilities in exchange for
17   consideration, as represented by the WTT tokens. The answer to this question is not a journey
18   down the regulated securities rabbit hole, it is as simple as basic law on sales of goods and
19   contracts to lease property. Any of the Owners could have brought their own machines to
20   Debtor’s facilities and turned around and placed those machines anywhere else. The Debtor
21   could have promised space in its facilities to any third party and reminded itself of this
22   obligations with a digital “WTT token” representing the contract made. These are not
23   investment contracts or an equity interest in the Debtor. Certainly, the Trustee is not able to rely
24   on the securities law to obtain something for nothing while he continues to fund operations
25

26   10
       SEC No Action Letter to TurnKey Jet, Inc., https://www.sec.gov/divisions/corpfin/cf-
     noaction/2019/turnkey-jet-040219-2a1.htm
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 1   postpetition with property the Debtor does not own.
 2
          C. The Owners Are Entitled to an Administrative Expense for Debtor’s Use of the
 3           Mining Equipment Postpetition.

 4            Through use of the Owner’s property, the estate continues to benefit in the form of cash

 5   flow and the ability to maintain operations. Given Debtor’s pre-bankruptcy representations and

 6   its business model, the continued use of mining equipment without payment of rental amounts

 7   and without recognition of ownership rights infringes on the property interests of the Owners

 8   absent compensation in the form of an administrative expense.

 9            The Bankruptcy Code provides that “at any time, on request of an entity that has an

10   interest in property used, sold, or leased, or proposed to be used, sold, or leased, by the trustee,

11   the court, with or without a hearing, shall prohibit or condition such use, sale, or lease as is

12   necessary to provide adequate protection of such interest.” § 363(e). The Owners request that

13   that the Court award an administrative expense, in an amount to be determined in a subsequent

14   hearing, for the benefit conferred on the estate as a consequence to Trustee’ postpetition use of

15   the mining equipment and for the amounts deposited for lease of Debtor’s facilities. The Owners

16   also request that the Court prohibit the Trustee’s continued use of their mining equipment absent

17   adequate protection and in the form of an additional administrative expense.

18            1. Use of the Mining Equipment Confers a Benefit on the Bankruptcy Estate.

19             The primary issue for the Owners is that since the postpetition restart of the Debtor’s

20   facilities the Trustee continues to utilize the Owners’ equipment to generate funds for

21   operations. The Bankruptcy Code does not allow a trustee to use property that belongs to a non-

22   debtor entity however he wants and without compensation. The Trustee’s use of the mining

23   equipment entitles the Owners to an administrative claim pursuant to 11 U.S.C. § 503.

24             The burden of proving an administrative expense claim is on the claimant. Microsoft

25   Corp. v. DAK Industries, Inc. (In re DAK Industries, Inc.), 66 F.3d 1091, 1094 (9th Cir. 1995).

26   An administrative claimant is entitled to be paid in full in cash on the effective date of the plan


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 1   of reorganization. § 1129(a)(9)(A). The purpose of the administrative expense priority afforded
 2   by the Code is to encourage third parties to enter into agreements with the trustee for the benefit
 3   of the estate. Boeing v. N. Am., Inc. v. Ybarra (In re Ybarra), 424 F.3d 1018, 1026 (9th Cir.
 4   2005); In re Kadjevich, 220 F.3d 1016, 1019 (9th Cir. 2000) (noting that the policy underlying
 5   administrative priority status is to encourage parties to take risks in entering agreements with
 6   trustee); Abercrombie v. Hayden Corp. (In re Abercrombie), 139 F.3d 755, 756-57 (9th Cir.
 7   1998). Where the debtor prepetition leases its property the tenant may choose to treat a rejection
 8   of the lease as a termination or retain the benefit of the lease and continue the use, possession,
 9   and enjoyment of the leased property notwithstanding the rejection. § 365(h)(1)(A)(ii).
10            A. Claim for Transactions with Trustee.
11            Pursuant to § 503(b)(1)(A), an administrative claim may arise where the claim arises
12   from a transaction with the trustee (or debtor-in-possession) as opposed to the preceding entity;
13   and (2) that the transaction directly and substantially benefitted the estate." Microsoft Corp., 66
14   F.3d at 1094. In determining whether there was a transaction with the trustee, the creditor
15   asserting an administrative expense claim must prove there was some inducement by the trustee
16   causing the creditor to incur the expense. In re United Trucking Serv., 851 F.2d 159, 162 (6th
17   Cir. 1988). The alternative to proving a transaction, a showing that the claimant gave
18   consideration to the trustee, requires that the creditor prove that the trustee induced the creditor's
19   performance, and that performance was then rendered by the creditor to the estate. In re White
20   Motor Corp., 831 F.2d 106, 110 (6th Cir. 1987). Here, the Trustee operated the facility with
21   knowledge of the asserted rights and claim to ownership of the Owners. Without affirmatively
22   resolving that issue, the Trustee obtained the benefit of the machines and facility space to mine
23   for digital currency as the Owners had done with those same machines prepetition.11 Even
24

25   11
       It is unclear how the Trustee setup the mining machines at Debtor’s facilities to generate
     digital currency for the bankruptcy estate. Prepetition, the Owners received digital coins into
26   their personal coin wallets. The Trustee or his agents cut off these distributions by some
     affirmative act to change where digital currency from each machine was credited.
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 1   without a direct agreement with the Trustee or specific exchange, the Owners are still entitled
 2   to compensation of the value received by the estate by use of the their equipment.
 3            The WTT token holders are also entitled to compensation for the use of the space by the
 4   Trustee. The WTT tokens represented a right to access Debtor’s facilities and functionally
 5   amounted to the pre-payment of rent. Trustee subsequently utilized these rented spaces to
 6   generate income for the estate but without recognizing that the Debtor had already sold the
 7   access to the facilities to the WTT token holders. The token holders are entitled to continued
 8   enjoyment of their lease rights regardless of whether the Trustee has rejected the WTT token
 9   leases or not. § 365(h)(1)(A)(ii). The Trustee’s actions amount to taking property of the Owners
10   and their leased spaces without any compensation for the use of the space already reserved by
11   the Debtor prepetition.
12            B. Claim for Substantial Contribution to Estate.
13            Pursuant to 11 U.S.C. § 503(b)(3), creditors of a bankrupt debtor may receive an
14   administrative claim where they have made a "substantial contribution" to the estate. In re
15   Cellular 101, Inc., 377 F.3d 1092, 1096 (9th Cir. 2004). The court has broad discretion to award
16   administrative expense status under § 503(b). In re Palau Corp., 139 B.R. 942, 944 (9th Cir.
17   BAP 1992). The principal test in the Ninth Circuit for establishing the second element,
18   substantial contribution, is the "'extent of benefit to the estate.'" Cellular 101, 377 F.3d at 1096
19   (quoting In re Christian Life Ctr. Litig. Def. Comm. v. Silva (In re Christian Life Ctr.), 821 F.2d
20   1370, 1373 (9th Cir. 1987)). The benefit to the estate must be direct and not "incidental" or
21   "minimal". See, e.g., In re Mortgs. Ltd., 2010 Bankr. LEXIS 5093, 2010 WL 6259981, at *7
22   (9th Cir. BAP Aug. 4, 2010).
23            In this case, the use of the miners was an extreme benefit to the bankruptcy estate.
24   Trustee admits that he is continuously operating “approximately 7,000 to 8,000 miners” for the
25   benefit of the estate. Trustee’s Omnibus Obj. at 18:10, ECF No. 483. Absent continued revenue
26   from the mining machines in Debtor’s facilities, the Trustee would simply have to liquidated


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 1   what property the Debtor held on the petition date. This is the benefit conferred that the
 2   Bankruptcy Code contemplates as a priority administrative expense. Trustee has no evidence
 3   that the Debtor purchased these miners instead of hosting them as it advertised to the world it
 4   was doing prepetition. Instead, the Trustee continued operations postpetition with miners the
 5   Debtor never owned and now desires to retain all benefits free from the property interests of the
 6   Owners.
 7            2. Use of the Facilities is in Derogation of Owner’s Prepaid Rental Rights.
 8            Trustee’s use of the Debtor’s facilities to generate income for the estate using the
 9   Owners’ machines also fails to recognize that the Owners prepaid for that space through WTT
10   tokens. Much like a gift card or other deposit in prepayment for services, the Debtor was
11   obligated to recognize each WTT token and the space in the facilities that it provided. Trustee
12   cannot simply ignore the WTT token holders.
13            Each WTT token Holder is entitled to administrative expense priority for the value of
14   the leased space in Debtor’s facilities that they reserved and that the Trustee used to their
15   exclusion. The Code provides a remedy where the bankruptcy estate receives such a benefit in
16   the form of an administrative expense claim. For some of the WTT token holders, the Code also
17   provides protection for their deposit, similar to that provided to holders of gift cards, pursuant
18   to § 503(a)(7). Trustee simply ignored the lease and property rights of the WTT token holders
19   and began operating the Debtor’s facility without regard to Debtor’s prepetition leased
20   obligations or the ownership of the equipment he was operating. As set forth supra, the Owner’s
21   mining machines and rack space have enabled the Trustee to continue generating income for
22   the estate and conferred a substantial benefit to the estate through that use. This benefit is
23   recognized by the Code and subject to compensation in the form of a priority claim.
24            The prudent course of action (especially after the Owners raised the issue) would have
25   been for the Trustee to attempt to determine the actual ownership of the mining machines at
26   Debtor’s facilities. To the extent the Trustee could not determine ownership of the mining


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 1   machines or a right to mine in space already leased to WTT token holders, he could have
 2   requested authorization to use the machines and rented space from the Court. Alternatively, the
 3   Trustee could have sought a declaratory judgment from the Court establishing his ownership
 4   after notice to interested parties. Instead, the Trustee chose to ignore the substantial risk that he
 5   was using property that did not belong to the Debtor thereby giving rise to the Owners’ claims.
 6                                            CONCLUSION
 7            WHEREFORE, The Court should enter an order determining that those entities with
 8   filed claims demonstrating a purchase of cryptocurrency mining machines delivered to Debtor’s
 9   facilities are the rightful owners of those machines. Furthermore, the Court should recognize
10   that the WTT token holders and Owners have made a substantial contribution to the bankruptcy
11   estate postpetition and are entitled to an administrative claim in an amount to be determined in
12   a subsequent hearing.
13
              DATED this 9th day of April, 2020.
14
                                                       EISENHOWER CARLSON PLLC
15

16                                                     By: /s/ Samuel J. Dart
                                                          Samuel J. Dart, WSBA #47871
17                                                        Attorney for Owners
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